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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF FLORIDA FILED BY_sOHR _D.C.

CASE NO. 22-14055-CR-CANNON/MA YNARD NOV 18 2029

ANGELA E. NOBLE
CLERK U.S. DIST. CT.

UNITED STATES OF AMERICA, S.D. OF FLA. - FT. PIERCE
Plaintiff,
vs.
KWAME HOLMES,
Defendant,
/
PLEA AGREEMENT

The United States Attorney’s Office for the Southern District of Florida (“the United
States”) and Kwame Holmes (hereinafter referred to as the “Defendant’’) enter into the following
agreement:

1. The Defendant agrees to plead guilty to the sole count of the Indictment, which charges
the Defendant with Failure to Register as a Sex Offender, in violation of Title 18, United States
Code, Section 2250(a).

2. The Defendant is aware that the sentence will be imposed by the Court after considering
the advisory Federal Sentencing Guidelines and Policy Statements (hereinafter “Sentencing
Guidelines”). The Defendant acknowledges and understands that the Court will compute an
advisory sentence under the Sentencing Guidelines and that the applicable guidelines will be
determined by the Court relying in part on the results of a pre-sentence investigation by the Court’s
probation office, which investigation will commence after the guilty plea has been entered. The
Defendant is also aware that, under certain circumstances, the Court may depart from the advisory
sentencing guideline range that it has computed, and may raise or lower that advisory sentence

under the Sentencing Guidelines. The Defendant is further aware and understands that the Court
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is required to consider the advisory guideline range determined under the Sentencing Guidelines,
but is not bound to impose a sentence within that advisory range; the Court is permitted to tailor
the ultimate sentence in light of other statutory concerns, and such sentence may be either more
severe or less severe than the Sentencing Guidelines’ advisory range. Knowing these facts, the
Defendant understands and acknowledges that the Court has the authority to impose any sentence
within and up to the statutory maximum authorized by law for the offense identified in paragraph
1 and that the Defendant may not withdraw the plea solely as a result of the sentence imposed.

3. The Defendant also understands and acknowledges that the Court may impose a
statutory maximum term of imprisonment of up to 10 years, followed by a term of supervised
release of at least 5 years up to life. and « possibly BaSD,903 Linse, i 4 Lee

4. The Defendant further understands and acknowledges that, in addition to any sentence
imposed under paragraph 3 of this agreement, a special assessment in the amount of $5,000 will
be imposed on the Defendant, unless the Defendant is deemed to be indigent, whereby the special
assessment of $100 will be imposed. The Defendant agrees that any special assessment imposed
shall be paid at the time of sentencing. If a defendant is financially unable to pay the special
assessment, the Defendant agrees to present evidence to the United States and the Court at the time
of sentencing as to the reasons for the Defendant’s failure to pay.

5. The United States reserves the right to inform the Court and the probation office of all
facts pertinent to the sentencing process, including all relevant information concerning the offenses
committed, whether charged or not, as well as concerning the Defendant and the Defendant’s
background. Subject only to the express terms of any agreed-upon sentencing recommendations
contained in this agreement, the United States further reserves the right to make any

recommendation as to the quality and quantity of punishment.
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6. The United States agrees that it will recommend at sentencing that the Court reduce by
two levels the sentencing guideline level applicable to the Defendant’s offense, pursuant to Section
3E1.1(a) of the Sentencing Guidelines, based upon the Defendant’s recognition and affirmative
and timely acceptance of personal responsibility. If at the time of sentencing the Defendant’s
offense level is determined to be 16 or greater, the United States will file a motion requesting an
additional one level decrease pursuant to Section 3E1.1(b) of the Sentencing Guidelines, stating
that the Defendant has assisted authorities in the investigation or prosecution of the Defendant’s
own misconduct by timely notifying authorities of the Defendant’s intention to enter a plea of
guilty, thereby permitting the government to avoid preparing for trial and permitting the
government and the Court to allocate their resources efficiently.

7. The United States, however, will not be required to make this motion and these
recommendations if the Defendant:

(1) fails or refuses to make a full, accurate and complete disclosure to the probation
office of the circumstances surrounding the relevant offense conduct;

(2) is found to have misrepresented facts to the government prior to entering into this
plea agreement; or

(3) commits any misconduct after entering into this plea agreement, including but not

limited to committing a state or federal offense, violating any term of release, or

making false statements or misrepresentations to any governmental entity or official.

8. The Defendant understands he continues to have a duty to register as a sex
offender upon his release from prison. Defendant also understands that independent of
supervised release, he is subject to federal and state sex offender registration
requirements, and that those requirements may apply throughout the Defendant's life.
The Defendant understands that he shall keep his registration current, and he shall notify

the state sex offender registration agency or agencies of any changes to Defendant's

name, place of residence, employment, or student status, and other relevant information.
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The Defendant shall comply with requirements to periodically verify, in person, the
Defendant's sex offender registration information. Defendant understands that he will be
subject to possible federal and state penalties for failure to comply with any such sex
offender registration requirements. Following release from prison, Defendant will be
subject to the registration requirements of the particular state in which the Defendant
resides.

9. The Defendant is aware that the sentence has not yet been determined by the Court.
The Defendant also is aware that any estimate of the probable sentencing range or sentence
that the Defendant may receive, whether that estimate comes from the Defendant’s attorney, the
United States, or the probation office, is a prediction, not a promise, and is not binding on the
United States, the probation office or the Court. The Defendant understands and acknowledges,
as previously acknowledged in paragraph 2 above, that the Defendant may not withdraw his plea
based upon the Court’s decision not to accept a sentencing recommendation made by the
Defendant, the United States, or a recommendation made jointly by the Defendant and the United
States.

10. The Defendant acknowledges that he has fully discussed the matters of this plea
agreement and his guilty plea pursuant thereto with his attorney, and that his attorney has answered
each of his questions about the strength of the government’s case as well as the following rights:
to go to trial, to cross-examine the government’s witnesses, to testify in his own behalf, to not be
compelled to provide self-incriminating testimony, to call witnesses for the defense, and to appeal
any adverse verdict that may result from a trial. The Defendant further acknowledges that he is
fully satisfied with the representations provided by his attorney.

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11. This is the entire agreement and understanding between the United States and the

Defendant. There are no other agreements, promises, representations, or understandings.

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Date: ~ / / te = By:

JUAN ANTONIO GONZALEZ

UNITED STATES ATTO YY

DIANA M. ACOSTA
ASSISTANT UNITED STATES ATTORNEY

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PETER BIRCH
ATTORNEY FOR DEFENDANT

HL HNobrd-

KWAMEHOLMES
DEFENDANT

